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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

 

 

ln re: Chapter ll
FCC Holdings, Inc., e_t al., Case No. l4-l 1987 (CSS)
Debtors.
AFFIDAVIT OF SERVICE

 

I Gene Matthews, depose and say that l am employed by Reliable Companies, provided
noticing services in the above-captioned case.

On April 27, 2018, at my direction and under my supervision, employees of Reliable caused to
be served the following document by via first class mail on the service list attached hereto as
Exhibit A:

 

|
837 Order Granting Liquidating Trustee' s Motion For An Order Extending Term

04/27/2018 _ of the Liquidating Trust. (Related Doc # 8_32) Order Signed on 4/27/2018.
(DMC) (Entered: 04/27/2018)

 

 

 

/ Gene Matthews
Dated: April 30, 2018

State of DelaWare
County of NeW Castle

Subscribed and sworn to (or afflrmed) before me on this 30th day of April 2018, by Gene

Mat_thews, proved to me on the basis of satisfactory evidence to be the person(s) Who appeared
before me.

\` 31 viz
><d \` .s~ §§:°---- m;qc;

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EXHIBIT A

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